           Case 1:24-bk-10005-VK Doc 169 Filed 11/14/24 Entered 11/14/24 21:36:53                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 24-10005-VK
Amy Jam                                                                                                                Chapter 7
Mohsen Ahmadi Hadad
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0973-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 12, 2024                                               Form ID: pdf042                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 14, 2024:
Recip ID                 Recipient Name and Address
db                     + Amy Jam, 5352 Orrville Avenue, Woodland Hills, CA 91367-5753
jdb                    + Mohsen Ahmadi Hadad, 20620 W. Hummingbird Ct, Porter Ranch, CA 91326-4996

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 14, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 12, 2024 at the address(es) listed
below:
Name                               Email Address
Amitkumar Sharma
                                   on behalf of Creditor BMO Bank N.A. c/o AIS Portfolio Services, LLC amit.sharma@aisinfo.com

Amy L Goldman (TR)
                                   marisol.jaramillo@lewisbrisbois.com AGoldman@iq7technology.com;ecf.alert+Goldman@titlexi.com

Armen Manasserian
                                   on behalf of Creditor Ha Hoang Nguyen armen@cym.law jennifer@cym.law

Brande M McCann
                                   on behalf of Creditor LVNV Funding LLC askbk@resurgent.com

Chad L Butler
                                   on behalf of Interested Party Courtesy NEF caecf@tblaw.com
         Case 1:24-bk-10005-VK Doc 169 Filed 11/14/24 Entered 11/14/24 21:36:53                                                             Desc
                             Imaged Certificate of Notice Page 2 of 4
District/off: 0973-1                                          User: admin                                                              Page 2 of 2
Date Rcvd: Nov 12, 2024                                       Form ID: pdf042                                                         Total Noticed: 2
Chad L Butler
                             on behalf of Creditor BMO Bank N.A. caecf@tblaw.com

Darlene C Vigil
                             on behalf of Creditor Pentagon Federal Credit Union cdcaecf@bdfgroup.com

Edward A Treder
                             on behalf of Interested Party Courtesy NEF cdcaecf@bdfgroup.com

Katherine Bunker
                             on behalf of U.S. Trustee United States Trustee (SV) kate.bunker@usdoj.gov

Randall P Mroczynski
                             on behalf of Creditor Mercedes-Benz Vehicle Trust successor in interest to Daimler Trust randym@cookseylaw.com

Sheryl K Ith
                             on behalf of Creditor Mercedes-Benz Vehicle Trust successor in interest to Daimler Trust sith@cookseylaw.com

Stella A Havkin
                             on behalf of Debtor Amy Jam stella@havkinandshrago.com shavkinesq@gmail.com

Stella A Havkin
                             on behalf of Joint Debtor Mohsen Ahmadi Hadad stella@havkinandshrago.com shavkinesq@gmail.com

Theron S Covey
                             on behalf of Creditor U.S. Bank Trust Company National Association tcovey@raslg.com

United States Trustee (SV)
                             ustpregion16.wh.ecf@usdoj.gov


TOTAL: 15
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 Attorney or Party Name, Address, Telephone & FAX                             FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 STRADLING YOCCA CARLSON & RAUTH LLP
 Gregory K. Jones (SBN 181072)                                                                           FILED & ENTERED
 gjones@stradlinglaw.com
 10100 N. Santa Monica Blvd., Suite 1450
 Los Angeles, CA 90067                                                                                           NOV 12 2024
 Telephone: 424-214-7000
 Facsimile: 424-214-7010
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY Pgarcia DEPUTY CLERK




     Attorney for:

                                          UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA -San Fernando Valley DIVISION

 In re:                                                                       CASE NO.: 1:24-bk-10005-VK
                                                                              CHAPTER: 11
 Amy Jam and Mohsen Hadad,
                                                                               ORDER ON APPLICATION
                                                                               FOR PAYMENT OF:
                                                                                   INTERIM FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 331)
                                                                                   FINAL FEES AND/OR EXPENSES
                                                                                   (11 U.S.C. § 330)
                                                                              DATE: 11/7/2024
                                                                              TIME: 10:30 a.m.
                                                                              COURTROOM: 301
                                                                              PLACE: 21041 Burbank Blvd., Woodland Hills, CA 91367


                                                              Debtor(s).

1. Name of Applicant (specify): Gregory K. Jones, Subchapter V Trustee

2. This proceeding was heard at the date and place set forth above and was                                  Contested              Uncontested

3. Appearances were made as follows: ***APPEARANCES WAIVED***
    a.         Applicant present in court
    b.         Attorney for Applicant present in court (name):
    c.         Attorney for United States trustee present in court
    d.         Other persons present as reflected in the court record

4. Applicant gave the required notice of the Application on (specify date): 09/20/2024

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5. The court orders as follows:
   a.     Application for Payment of Interim Fees is approved as follows:
      (1)      Total amount allowed: $
      (2)      Amount or percentage authorized for payment at this time:

    b.        Application for Reimbursement of Interim Expenses is approved and authorized for payment:
                 Total amount allowed: $

    c.        Application for Payment of Final Fees is approved in the amount of: $ 4,197.50

    d.        Application for Reimbursement of Final Expenses is approved and authorized for payment:
                 Total amount allowed: $

    e. (1)          Application is denied
                       in full
                       in part
                       without prejudice
                       with prejudice
         (2) Grounds for denial (specify):



    f.        The court further orders (specify):



                                                                          ###




                 Date: November 12, 2024




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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